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   1   Michael P. Lehmann (Cal. Bar No. 77152)
       Christopher L. Lebsock (Cal. Bar No. 184546)
   2   HAUSFELD LLP
   3   600 Montgomery Street, Suite 3200
       San Francisco, CA 94111
   4   Tel: (415) 633-1908
   5   Fax: (415) 358-4980
       E-mail: mlehmann@hausfeld.com
   6   E-mail: clebsock@hausfeld.com
   7
       Class Counsel for the Direct Purchaser Plaintiffs
   8   Class
   9
  10                        UNITED STATES DISTRICT COURT
  11               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  12
  13    IN RE: PACKAGED SEAFOOD                     Case No. 3:15-md-02670-DMS
        PRODUCTS ANTITRUST                          (MSB)
  14    LITIGATION
                                                    DIRECT PURCHASER
  15                                                PLAINTIFFS’ MEMORANDUM
                                                    OF POINTS AND AUTHORITIES
  16                                                IN SUPPORT OF THEIR
                                                    MOTION FOR PRELIMINARY
  17    This document relates to:                   APPROVAL OF SETTLEMENTS
  18                                                DATE:      August 23, 2024
        Direct Purchaser Plaintiff Class
  19    Action Track                                TIME:      1:30 P.M.
                                                    JUDGE:     Dana M. Sabraw
  20                                                CTRM:      13A
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   1    I.   INTRODUCTION
   2         The Direct Purchaser Plaintiffs (“DPPs”) hereby submit their motion for
   3   preliminary approval of proposed Settlements between DPPs and Defendants StarKist
   4   Co. and Dongwon Industries Co., Ltd. (collectively “StarKist and DWI”) and Defendant
   5   Lion Capital (Americas), Inc. and Specially Appearing Defendants Lion Capital LLP and
   6   Big Catch Cayman LP (collectively the “Lion Companies”) (collectively with the DPPs,
   7   the “Parties”), which are memorialized in the Settlement Agreements Between Direct
   8   Purchaser Plaintiffs and StarKist and DWI and the Lion Companies (the “Settlement
   9   Agreements”).1 See Declaration of Erika A. Inwald (“Inwald Decl.”), Exs. A, B.
  10         In 2015, the DPPs filed the first lawsuit alleging a price-fixing conspiracy in the
  11   packaged tuna industry. Following nine years of hard-fought litigation, the DPPs,
  12   StarKist and DWI, and the Lion Companies have executed the proposed Settlement
  13   Agreements. 2
  14         The proposed Settlements provide fair compensation to the Settlement Class.
  15   The Settlement Class has previously obtained a settlement of $13,001,961.86, net of
  16   fees and costs, from COSI and TUG. See ECF No. 3011. 3 Now, StarKist and DWI
  17   have agreed to contribute an additional sum of $58,750,000 in cash and product to the
  18   Settlement Class, which will include the payment of $32,650,000 in cash as follows:
  19   StarKist and DWI will deposit One Million Dollars ($1,000,000.00) in United States
  20
  21   1
         Big Catch Cayman LP was previously dismissed from the Action by the Court with
  22   prejudice. ECF No. 3103.
       2
         The Court has previously granted final approval to a Settlement Agreement between
  23   DPPs and Tri-Union Seafoods LLC d/b/a Chicken of the Sea International (“COSI”)
  24   and its parent company, Defendant Thai Union Group PCL (“TUG”). See ECF No.
       3011.
  25
       3
         The Court separately approved an arbitrator’s award of fees and costs to Class
  26   Counsel in the amount of $1,539,363.29 (fees) and $4,410,636.71 (costs). See ECF
  27   No. 3012. This award constituted a small fraction of the total expenditure of fees and
       advanced costs made by Class Counsel over the course of nine years of this litigation.
  28
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   1   currency into the Escrow Account within five (5) days after preliminary approval by
   2   the Court, Fifteen Million Eight Hundred and Twenty-Five Thousand Dollars
   3   ($15,825,000.00) in United States currency into the Escrow Account within 120 days
   4   after final approval by the Court, and Fifteen Million Eight Hundred and Twenty-Five
   5   Thousand Dollars ($15,825,000.00) in United States currency into the Escrow
   6   Account by no later than December 1, 2025. Inwald Decl., Ex. A. The Settlement Class
   7   will also be entitled to a pro rata share of $26,100,000.00 in packaged tuna product,
   8   which shall be redeemed over the course of no more than three (3) years following the
   9   Final Approval of the StarKist and DWI Settlement or following ninety (90) days after
  10   the Settlement Administrator provides StarKist with the pro rata allocation of the
  11   Product Component of the Settlement, whichever is later. Id. Settlement Class
  12   Members will be able to place an order for any StarKist-branded products on
  13   StarKist’s national price list in effect on the date that they place their order to redeem
  14   their pro rata share of StarKist Products. Id. StarKist Products will be delivered FOB
  15   destination point to each Settlement Class Member who makes a claim and places an
  16   order, freight pre-paid to a single agreed shipping address within the continental
  17   United States for that claimant, provided that the claimant shall pay the standard
  18   shipping costs for any shipments that are made in less than full truckloads if more than
  19   one order for StarKist Products is placed for its allocated share of the Product
  20   Component. Id.
  21         In addition, the Lion Companies will contribute an additional $6,000,000.00
  22   dollars to the Settlement Class as follows: The Lion Companies will deposit Two
  23   Hundred Thousand Dollars ($200,000.00) in United States currency into the Escrow
  24   Account within five (5) days after preliminary approval, Two Million Eight Hundred
  25   Thousand Dollars ($2,800,000.00) in United States currency into the Escrow Account
  26   within thirty (30) days after preliminary approval, and Three Million Dollars
  27
  28
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  1    ($3,000,000.00) in United States currency into the Escrow Account within forty-five
  2    (45) days after final approval. Id., Ex. B.
  3          In total, considering the COSI/TUG, the StarKist and DWI, and the Lion
  4    Settlements, the Settlement Class will have recovered $83,701,961.86 from the
  5    Defendants in this litigation, which is an excellent result given that StarKist and DWI
  6    and the Lion Companies were prepared to dispute the scope, duration, and
  7    effectiveness of the conspiracy. See, e.g., Inwald Decl., Ex. D (May 22, 2024 Hearing
  8    Transcript) at 79:24-80:6 (StarKist’s counsel: “In our view that means that the
  9    questions that remain for trial are limited: were DWI and the Lion Companies involved
 10    in a conspiracy? Did they consciously commit to a common scheme to achieve an
 11    unlawful purpose, as Monsanto says? Were private label products involved in the
 12    conspiracy? Did the conspiracy end in 2013 when Mr. Hodge was fired? Were
 13    Plaintiffs injured? Those are really the issues that remain for the jury[.]”). 4 While,
 14    Class Counsel was confident in their position, trials are risky, and there is no certainty
 15    as to what a jury would decide. There was the additional practical reality that liability
 16    was disputed by the Lion Companies and by DWI, and that collection of a large
 17    judgment would be highly uncertain given that StarKist does not have assets sufficient
 18    to cover the financial exposure of the DPPs’ and the remaining plaintiffs’ claims, and
 19    that DWI and the Lion Companies do not have assets in the United States that could
 20    be attached. Moreover, the Lion Companies are in the process of winding down their
 21    business operations and do not have substantial assets available to resolve the claims
 22    against them. See Inwald Decl. ¶ 12. All these factors indicated that the reasonable
 23
       4
        Pursuant to Federal Rule of Civil Procedure 23(e)(2)(C), Class Counsel further notify
 24    the Court that Class Counsel has reached a separate agreement with StarKist and DWI
 25    that will provide compensation to Class Counsel for the work that they did
       coordinating the litigation efforts of the four litigation tracks established in this
 26    multidistrict litigation, including that of the companies that opted out of the DPP Class.
 27    See Inwald Decl., Ex. C (filed under seal). The negotiation of this agreement was
       supervised by the Hon. Michael S. Berg.
 28
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  1    Settlements achieved here were preferable to the uncertainty of trial and post-
  2    judgment collection.
  3           The total compensation obtained by the Settlement Class as a percentage of the
  4    potential damages that they suffered far surpasses the amounts obtained by any other
  5    group of plaintiffs. As just one example, the largest Direct Action Plaintiff (“DAP”),
  6    Wal-Mart, with approximately 20% of the total amount of packaged tuna purchased
  7    during the class period, obtained a settlement with StarKist and DWI, of $20.5 million
  8    based on a combination of cash and “commercial terms.” See Inwald Decl. ¶ 13. By
  9    contrast, the DPPs, whose purchases constituted approximately 20% of the packaged
 10    tuna purchases during the class period, are receiving $58.75 million in cash and
 11    product from StarKist and DWI. See id.
 12           It bears noting that the Settlement negotiations involved informal discussions
 13    between the Parties’ counsel over the course of many years, and recently were
 14    supervised by Judge Berg, whose steady hand and persistence substantially assisted in
 15    the pretrial resolution of this litigation. See id. ¶ 18.
 16           The deductions from the Settlements will be for notice and administration of
 17    the Settlements, which is not expected to exceed $850,000, reimbursement of Class
 18    Counsel’s fees and costs, and $12,500 service awards for the following class
 19    representatives: Olean Wholesale Grocery Cooperative, Inc. (“Olean”), Piggly
 20    Wiggly Alabama Distributing Co., Inc., Howard Samuels as Trustee in Bankruptcy
 21    for Central Grocers, Inc., Trepco Imports and Distribution Ltd., Pacific Groservice
 22    Inc. d/b/a PITCO Foods, and Benjamin Foods LLC, if approved by the Court.
 23    II.   BACKGROUND
 24          History of the Litigation
 25           The DPPs’ initial suit, filed in August of 2015, alleged an antitrust conspiracy
 26    by COSI, Bumble Bee Foods LLC (“Bumble Bee”), and StarKist, and their parent
 27    companies to fix and maintain prices. See Olean Wholesale Grocery Coop., Inc. v.
 28
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  1    Bumble Bee Foods LLC et al., No. 15-cv-01714 (S.D. Cal., Aug. 3, 2015), ECF No.
  2    1. The DOJ also conducted a criminal investigation into price-fixing in the packaged
  3    tuna industry. Id. ¶ 17. As a result of that investigation, COSI admitted Sherman Act
  4    violations, sought leniency (thereby admitting criminal liability), 5 and cooperated with
  5    both the DOJ and civil claimants by providing evidence against StarKist and Bumble
  6    Bee. Inwald Decl. ¶ 14.
  7            Multiple civil actions relating to this conspiracy were consolidated in a
  8    multidistrict litigation for centralized pretrial proceedings before this Court on
  9    December 9, 2015. See Transfer Order, ECF No. 1. Early in this multidistrict litigation,
 10    the Court divided Plaintiffs into four tracks: (1) the DPPs; (2) the DAPs, who were
 11    direct purchasers, and consist of mainly large retailers or wholesalers, proceeding
 12    individually against Defendants; (3) the Commercial Food Preparers (“CFPs”), who
 13    were indirect purchasers proceeding on behalf of a proposed class; and (4) the End
 14    Payer Plaintiffs (“EPPs”), who were indirect purchasers proceeding on behalf of a
 15    proposed class (collectively, “Plaintiffs”). See ECF No. 119. At that time, the Court
 16    also appointed Hausfeld LLP (“Hausfeld”) as interim lead counsel for the proposed
 17    DPP Class. Id.
 18            After several rounds of motions to dismiss, which the Court largely denied, the
 19    Defendants answered the operative DPP Complaint, and the case proceeded to
 20    discovery. See Answers, ECF Nos. 1561, 1600, 1601, 1688, 1689, and 2637. More
 21    than 200 depositions were taken in this case across the United States and Asia. See
 22    Inwald Decl. ¶ 15. Millions of pages of documents were produced and reviewed by
 23    Class Counsel. Id.
 24            In 2018, the DPPs moved the Court to certify the DPP Class (ECF No. 1140).
 25    After a three-day evidentiary hearing in January of 2019 (ECF Nos. 1774-75, 1777),
 26    the Court ultimately certified a DPP Class of all persons and entities that directly
 27    5
           See https://www.justice.gov/atr/page/file/926521/download.
 28
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  1    purchased packaged tuna products within the United States, its territories, and the
  2    District of Columbia from any Defendant at any time between June 1, 2011 and July
  3    1, 2015, with minor exclusions. 6 ECF No. 1931. The Court also appointed Hausfeld
  4    LLP as Class Counsel for the DPP Class. Id.
  5          The parties proceeded to expert discovery and dispositive motions, with the
  6    DPPs and the Defendants filing cross motions for summary judgment on various
  7    issues and Daubert motions against the opposing experts. See, e.g., ECF Nos. 1967,
  8    1970, 1976, 1981, 1984, 1993, 1998, 1999, 2001, 2007, 2009, 2015, 2030, 2035, 2043,
  9    3036, 3037. The DPPs hired three experts: Dr. Russell Mangum (economist), Dr. Gary
 10    Hamilton (sociologist), and Marianne DeMario (forensic accountant). Inwald Decl.
 11    ¶ 16. The Defendants hired nine experts to oppose the DPPs: Dr. Randal Heeb
 12    (economist), Dr. Michael Moore (economist), Gary Kleinrichert (accountant), Arthur
 13    Laby (attorney), Dennis Carlton (economist), Andres Lerner (economist), Janusz
 14    Ordover (economist), Robert M. Daines (law professor), and Ilya A. Strebulaev
 15    (private equity professor). Id. The parties completed all expert depositions and
 16    submitted final expert reports. Id. The Court largely denied the defense motions to
 17    exclude the testimony of the DPPs’ experts and granted partial summary judgment
 18    with respect to the Plaintiffs’ motion as to StarKist. See ECF Nos. 2407, 2654, 3134.
 19          In 2019, Defendants appealed the Court’s class certification decision pursuant
 20    to Fed. R. Civ. P. 23(f). ECF No. 2246. On April 6, 2021, a Ninth Circuit panel vacated
 21    the class certification decision and remanded the case so that the trial court could
 22    decide which expert was more persuasive on the issue of the number of uninjured
 23    parties in each class. Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC,
 24
 25    6
        The DPPs had a typographic error in their Litigation Class definition (July 1 instead
 26    of July 31) that they asked the Court to correct. ECF No. 1945. The Court later
       corrected the Class definition. See ECF No. 3024 at 3.
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  1    993 F.3d 774 (9th Cir. 2021). A rehearing en banc was granted on August 3, 2021.
  2    Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 5 F.4th 950 (9th Cir.
  3    2021). The en banc court affirmed the District Court’s class certification order in full.
  4    See generally Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31
  5    F.4th 651 (9th Cir. 2022). That decision has been cited 271 times as of July 17, 2024
  6    and has become the leading antitrust class certification order in district court
  7    proceedings throughout the United States.
  8         The Settlement Agreements
  9          StarKist and the DPPs executed a Settlement Agreement on August 13, 2024.
 10    Inwald Decl., Ex. A.
 11          The Lion Companies and the DPPs executed a Settlement Agreement on August
 12    2, 2024. Inwald Decl., Ex. B.
 13          Settlement Class Definition. The Settlement Class definition is almost
 14    identical to the DPP Class certified by the Court (see ECF No. 1931), with a correction
 15    of a typo so that the Class Period ends on July 31 as opposed to July 1 and an inclusion
 16    of additional exclusions. See Inwald Decl., Ex. A ¶¶ 1.23, 3; Id., Ex. B ¶¶ 1.22, 3. The
 17    full definition of the Settlement Class, including the various exclusions, is:
 18          All persons and entities that directly purchased packaged tuna products within
             the United States, its territories and the District of Columbia from any
 19          Defendant at any time between June 1, 2011 and July 31, 2015. Excluded from
 20          the class are all governmental entities; Defendants and any parent, subsidiary
             or affiliate thereof; Defendants’ officers, directors, employees, and immediate
 21          families; any federal judges or their staffs; purchases of tuna salad kits or cups;
 22          and salvage purchases. Also excluded from the class is any person or entity
             that was excluded from the class, in whole or in part, pursuant to the Court’s
 23          Order in this Action at ECF No. 3097, which incorporates the list of entities
 24          at ECF No. 3095-1.
             Benefits. The Settlements provide for significant relief for Settlement Class
 25
       Members and was negotiated at an arms’ length between the Parties. In exchange for
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  1    releasing claims against StarKist and DWI and the Lion Companies in this litigation,
  2    the DPP Class will receive $64,750,000 in cash and product. See Inwald Decl. ¶ 13.
  3          Release. In exchange for the foregoing relief, the DPPs have agreed to release
  4    “all Claims . . . on account of, arising out of, resulting from, or in any way related to
  5    any conduct concerning the pricing, selling, discounting, manufacturing, distribution,
  6    promotion, or marketing of Packaged Tuna Products during the period from June 1,
  7    2011 to July 31, 2015 that could have been brought based in whole or in part on the
  8    facts, occurrences, transactions, or other matters that were alleged in the Complaint.”
  9    Id., Ex. A ¶ 1.19; Id., Ex. B ¶ 1.18.
 10          Attorneys’ Fees and Costs. Class Counsel has litigated this case for nine years
 11    on contingency—and has advanced millions of dollars in costs. Inwald Decl. ¶ 21.
 12    Nearly six years into the litigation, the Court awarded Class Counsel $1,539,363.29
 13    in fees and $4,410,636.71 in costs pursuant to an arbitration between COSI/TUG and
 14    Class Counsel. See ECF No. 3012.
 15          Class Counsel will ask the Court for up to 33.3% of the total value of the
 16    Settlement Agreements as attorneys’ fees and will also ask the Court for unreimbursed
 17    costs, all of which will be detailed in a forthcoming motion for an award of fees and
 18    reimbursement of costs. Inwald Decl. ¶ 21.
 19         Notice and Claims Process
 20          As set forth in the supporting Declaration of Gina Intrepido-Bowden—a Vice-
 21    President at JND, the settlement and notice administrator—notice of the settlement
 22    will be provided directly via mail to the DPP Class as well as by email for those Class
 23    Members for whom the DPPs have email addresses. See Declaration of Gina
 24    Intrepido-Bowden (“Intrepido-Bowden Decl.”) ¶¶ 1, 9a. There will also be a Press
 25    Release, and given the widespread interest in this case, it is likely to be picked up by
 26    relevant media outlets, including those known to report on this case. Id. ¶ 9b. The
 27    DPPs’ proposed notice plan also encourages Class Members to go to the dedicated
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  1    website and register for further direct updates via email for future important events.
  2    Id. ¶¶ 9c, 25, 26. Additionally, JND will attempt to individually contact certain Class
  3    Members, specifically food banks, to encourage them to make their claim. Inwald
  4    Decl. ¶ 23.
  5          Under the DPPs’ proposed plan of allocation, Settlement Class Members will
  6    be able to make claims for their pro rata share of the Settlement Amounts. As
  7    explained in the notice plan, the DPPs have the transactional data in this case and are
  8    able to determine Class Members’ volume of commerce, and the settlement
  9    administrator plans to establish a secure online portal whereby Class Members can
 10    check and verify their volume of commerce. Intrepido-Bowden Decl. ¶ 31. If they
 11    believe a different amount of commerce is correct, they can dispute that amount, in
 12    which case their claim will be subject to an audit. See id. This plan eases the
 13    verification process for Class Members and reduces the burden on them. Id. Class
 14    Members will be entitled to a pro rata share of the available cash and product. JND
 15    will remind Settlement Class Members through direct mail and email before the
 16    deadline to place an order for StarKist products is set to expire. Id. ¶ 21. Further, Class
 17    Members, including Class Members that are no longer purchasing packaged tuna, may
 18    donate their share of the product to an approved charity and receive the benefit of a
 19    charitable deduction on their taxes for doing so. See id. ¶ 32. This process will be
 20    explained on the dedicated website and included in the Class notice. Any unclaimed
 21    product will be distributed, cy pres, to food banks, hot meal programs, or other
 22    charities. Inwald Decl. ¶ 25.
 23          Within five business days after Preliminary Approval is granted by the Court,
 24    StarKist and DWI have agreed to deposit up to $1,000,000 and the Lion Companies
 25    have agreed to deposit up to $200,000 to pay for the costs of notice and administration.
 26    To the extent those funds are spent, they shall not be reimbursable in the event that
 27    final approval is not granted. Id., Ex. A ¶ 5.3; Id., Ex. B ¶¶ 1.21, 5.3. Although the
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  1    DPPs anticipate that both notice and the claims administration will not cost more than
  2    $850,000, the Settlement Agreements conservatively provide that Class Counsel may
  3    withdraw funds as necessary for notice and administration from the Settlement Fund
  4    of up to $1,200,000. Id. ¶ 23.
  5    III. LEGAL STANDARD
  6          In deciding whether to approve a proposed settlement, the Ninth Circuit has a
  7    “strong judicial policy that favors settlements, particularly where complex class action
  8    litigation is concerned.” In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 556
  9    (9th Cir. 2019) (“Hyundai”) (internal quotation omitted); In re Syncor ERISA Litig.,
 10    516 F.3d 1095, 1101 (9th Cir. 2008). “[T]here is [also] an overriding public interest
 11    in settling and quieting litigation,” and this is “particularly true in class action suits.”
 12    Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976).
 13          In December of 2018, the Rules Committee revised Federal Rule of Civil
 14    Procedure 23 to formalize the preliminary approval process for district courts when
 15    first evaluating a proposed class action settlement. See Fed. R. Civ. P. 23(e)(1). Under
 16    the new rule, “[t]he court must direct notice [of the proposed settlement] in a
 17    reasonable manner to all class members who would be bound by the proposal if giving
 18    notice is justified by the parties’ showing that the court will likely be able to: (i)
 19    approve the proposal under Rule 23(e)(2); and (ii) certify the class for purposes of
 20    judgment on the proposal.” Fed. R. Civ. P. 23(e)(1)(B).
 21    IV. ARGUMENT
 22      A. The Proposed Settlement Class Satisfies the Requirements of Rules 23(a)
 23         and (b)(3).
 24         The Supreme Court has long recognized that antitrust class actions are a vital
 25    component of antitrust enforcement. Reiter v. Sonotone Corp., 442 U.S. 330, 344
 26    (1979); Hawaii v. Standard Oil Co. of Cal., 405 U.S. 251, 266 (1972). Thus, courts
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  1    “resolve doubts in these actions in favor of certifying the class.” In re Cathode Ray
  2    Tube (CRT) Antitrust Litig., 308 F.R.D. 606, 612 (N.D. Cal. 2015) (“CRT II”).
  3          To certify a settlement class under Fed. R. Civ. P. 23, plaintiffs must satisfy the
  4    four prerequisites of Rule 23(a)—numerosity, commonality, typicality, and adequacy
  5    of representation—as well as at least one of the three subsections of Rule 23(b). See
  6    Sali v. Corona Reg’l Med. Ctr., 889 F.3d 623, 629-31 (9th Cir. 2018) (“Sali”) (citing
  7    Fed. R. Civ. P. 23(c)(1)(A)). A plaintiff seeking Rule 23(b)(3) certification must show
  8    that “questions of law or fact common to class members predominate over any
  9    questions affecting only individual members, and that a class action is superior to other
 10    available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ.
 11    P. 23(b)(3). The manageability requirement inherent in Rule 23(b)(3) does not apply
 12    to settlement classes. “[T]he criteria for class certification are applied differently in
 13    litigation classes and settlement classes.” Hyundai, 926 F.3d at 556.
 14          Rule 23(a) Requirements.
 15          Numerosity is satisfied by a class as small as 40 entities. Lo v. Oxnard European
 16    Motors, LLC, No. 11CV1009, 2011 WL 6300050, at *2 (S.D. Cal. Dec. 15, 2011)
 17    (“Lo”). Here, the proposed Settlement Class contains several hundred entities. See
 18    Inwald Decl., Ex. F.
 19          Commonality. Rule 23(a)(2) requires that there be “questions of law or fact
 20    common to the class.” “[F]or purposes of Rule 23(a)(2), even a single common
 21    question will do.” Nitsch v. Dreamworks Animation SKG Inc., 315 F.R.D. 270, 283
 22    (N.D. Cal. 2016) (“Nitsch”) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,
 23    359 (2011)).
 24          Where, as here, the focus is on Defendants’ alleged anticompetitive conduct,
 25    questions of law and fact are common to the class. “Where an antitrust conspiracy has
 26    been alleged, courts have consistently held that ‘the very nature of a conspiracy
 27    antitrust action compels a finding that common questions of law and fact exist.’” In re
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  1    High-Tech Emp. Antitrust Litig., 985 F. Supp. 2d 1167, 1180 (N.D. Cal. 2013) (“High-
  2    Tech”) (quoting In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 593
  3    (N.D. Cal. 2010), amended in part by No. 07-1827, 2011 WL 3268649 (N.D. Cal. July
  4    28, 2011) (“LCD”)). In this case, there are numerous common issues, including:
  5    (1) whether Defendants participated in a conspiracy to fix prices in violation of the
  6    antitrust laws; (2) the scope of that conspiracy; and (3) whether the Class suffered
  7    antitrust injury as a result of Defendants’ alleged conspiracy.
  8           Typicality. The test of typicality is “whether other members have the same or
  9    similar injury, whether the action is based on conduct which is not unique to the named
 10    plaintiffs, and whether other class members have been injured by the same course of
 11    conduct.” Sali, 889 F.3d at 633 (quotation omitted). “In antitrust cases, typicality
 12    usually ‘will be established by plaintiffs and all class members alleging the same
 13    antitrust violations by defendants.’” High-Tech, 985 F. Supp. 2d at 1181 (quoting
 14    Pecover v. Elec. Arts, Inc., No. 08-2820, 2010 WL 8742757, at *11 (N.D. Cal. Dec.
 15    21, 2010)); see also Lo, 2011 WL 6300050, at *2. The claims of Plaintiffs and the
 16    proposed Class are all based on the same alleged antitrust violations, and they each
 17    have suffered injury as a result of Defendants’ alleged antitrust conspiracy. Any
 18    factual differences among Class Members do not preclude a finding of typicality. 7
 19           Adequacy of Representation. Adequacy requires that Plaintiffs “(1) have no
 20    interests that are antagonistic to or in conflict with the interests of the class; and (2) be
 21    represented by counsel able to vigorously prosecute their interests.” CRT II, 308
 22    F.R.D. at 618. “The mere potential for a conflict of interest is not sufficient to defeat
 23    class certification; the conflict must be actual, not hypothetical.” In re Nat’l Collegiate
 24    Athletic Ass’n Athletic Grant-In-Aid Cap Antitrust Litig., 311 F.R.D. 532, 541 (N.D.
 25
       7
        See, e.g., In re Korean Ramen Antitrust Litig., No. 13-CV-04115, 2017 WL 235052,
 26    at *20 (N.D. Cal. Jan. 19, 2017); In re Static Random Access Memory (SRAM)
 27    Antitrust Litig., 264 F.R.D. 603, 609 (N.D. Cal. 2009); see also LCD, 267 F.R.D. at
       593.
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  1    Cal. 2015) (quotation omitted). There is no conflict between Plaintiffs’ interests and
  2    those of absent Class Members. Plaintiffs and their expert have alleged that all Class
  3    Members were injured by having to pay supracompetitive prices for packaged tuna.
  4           The DPPs and their counsel, Hausfeld, have vigorously prosecuted this case on
  5    behalf of the DPP Class. Hausfeld was the first firm to file suit on behalf of the first
  6    filed Plaintiff in this litigation, Olean. Olean and the other class representatives, with
  7    the assistance of Class Counsel, have more than adequately represented the DPP Class.
  8    See Inwald Decl. ¶¶ 14-17, 27. They have driven this litigation forward in all aspects
  9    for the betterment of all Plaintiffs. Id.
 10           Among other things, Class Counsel have conducted extensive discovery,
 11    reviewing millions of pages of documents and taking depositions of dozens of
 12    witnesses. Id. ¶ 15. As a result of these and other efforts, Class Counsel were able to
 13    secure relief from Defendants for a period of time beyond the period for which the
 14    DOJ secured guilty pleas. Id. Class Counsel have also investigated and litigated claims
 15    against the parent entity Defendants in this case, and as a result of those efforts, DWI
 16    and the Lion Companies are included in the Settlements as well. Id.
 17           Particularly in light of the late stage of the litigation, Class Counsel have more
 18    than sufficient information to make an informed decision as to the value of the
 19    Settlements compared to the risks of continued litigation. The Parties have been
 20    preparing for trial over the last several months, which allows Class Counsel to make
 21    an informed judgment in favor of the Settlements, a factor which the Court should
 22    consider. 8 In addition, Class Counsel have observed that the other Class Plaintiffs and
 23
 24    8
         See In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prods. Liab. Litig., No.
 25    2672, 2016 WL 6248426, at *14 (N.D. Cal. Oct. 25, 2016) (“[E]xtensive review of
       discovery materials indicates [Plaintiffs have] sufficient information to make an
 26    informed decision about the Settlement. As such, this factor favors approving the
 27    Settlement.”); see also In re Portal Software Sec. Litig., No. C-03-5138, 2007 WL
       4171201, at *4 (N.D. Cal. Nov. 26, 2007).
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  1    most of the DAPs—which comprise most of the largest Members of the DPP Class
  2    and collectively account for around 80% of the purchases by DPP Class Members—
  3    have already entered into settlements with Defendants. See Inwald Decl. ¶ 12.
  4           Class Counsel are experienced lawyers who have successfully litigated many
  5    prior complex antitrust class actions such as this one, and have successfully resolved
  6    many of those cases in this Circuit. Id. ¶ 10. Class Counsel have brought that
  7    experience and knowledge to bear on behalf of the Class and in these proposed
  8    Settlements. Id. 9
  9           Rule 23(b)(3) Requirements. “Predominance is a test readily met in certain
 10    cases alleging . . . violations of the antitrust laws.” Amchem Prods., Inc. v. Windsor,
 11    521 U.S. 591, 625 (1997). Courts commonly find Rule 23’s “predominance”
 12    requirement satisfied in direct purchaser horizontal price fixing cases. See, e.g.,
 13    Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 815 (7th Cir. 2012); Nitsch,
 14    315 F.R.D. at 315.
 15           Rule 23(b)(3) “does not require a plaintiff seeking class certification to prove
 16    that each ‘elemen[t] of [her] claim [is] susceptible to classwide proof.’ What the rule
 17    does require is that common questions ‘predominate over any questions affecting only
 18    individual [class] members.’” Amgen, Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S.
 19    455, 469 (2013) (citation omitted; brackets in original). Predominance is satisfied
 20    when “common questions present a significant aspect of the case” such that significant
 21    facts and issues underlying the proposed classes’ claims are subject to common proof.
 22
 23    9
         See Ellis v. Naval Air Rework Facility, 87 F.R.D. 15, 18 (N.D. Cal. 1980) (“[T]he
       fact that experienced counsel involved in the case approved the settlement after hard-
 24    fought negotiations is entitled to considerable weight.”), aff’d, 661 F.2d 939 (9th Cir.
 25    1981); Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D.
       Cal. 2004) (“‘Great weight’ is accorded to the recommendation of counsel, who are
 26    most closely acquainted with the facts of the underlying litigation.”) (citation omitted);
 27    Bellows v. NCO Fin. Sys., Inc., No. 3:07-cv-01413, 2008 WL 5458986, at *6-7 (S.D.
       Cal. Dec. 10, 2008) (same).
 28
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  1    CRT II, 308 F.R.D. at 620 (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022
  2    (9th Cir. 1998)).
  3           Here, the common questions identified above predominate over any individual
  4    ones. The existence and scope of Defendants’ alleged horizontal price-fixing
  5    conspiracy is a class-wide issue that can be proved for each Class Member through
  6    common evidence. “In price-fixing cases, courts repeatedly have held that the
  7    existence of the conspiracy is the predominant issue and warrants certification even
  8    where significant individual issues are present.” Nitsch, 315 F.R.D. at 315 (quotation
  9    and internal marks omitted); CRT II, 308 F.R.D. at 620, 625 (same); High-Tech, 985
 10    F. Supp. 2d at 1217 (finding holistic examination of liability, not just econometric
 11    analysis, justified certification).
 12           This is especially true in the context of a settlement class, such as this one. In
 13    Hyundai, it was argued that the differences in applicable state laws defeated
 14    predominance, but the Ninth Circuit, sitting en banc, said that in the context of a
 15    settlement class, that is viewed as an issue of manageability, which is a requirement
 16    that does not apply. 926 F.3d at 559-60. Accord Jabbari v. Farmer, 965 F.3d 1001,
 17    1007 (9th Cir. 2020).
 18      B. The Proposed Settlements Are Fair Under Rule 23(e).
 19           As amended, Rule 23 now provides a checklist of factors to consider when
 20    assessing whether a proposed settlement is fair, reasonable, and adequate. See Fed. R.
 21    Civ. P. 23(e)(2) advisory committee’s note (2018) (although the Ninth Circuit
 22    previously used lists of factors to be considered, the revised Rule 23 now “directs the
 23    parties to present [their] settlement . . . in terms of [this new] shorter list of core
 24    concerns.”). Ultimately, as the Ninth Circuit has admonished, the key “underlying
 25    question remains this: Is the settlement fair?” In re Volkswagen “Clean Diesel” Mktg.,
 26    Sales Pracs., & Prods. Liab. Litig., 895 F.3d 597, 611 (9th Cir. 2018).
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 28
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  1         1. The Class Representatives and Class Counsel have adequately represented
               the Class.
  2
               On the first factor, the DPP Class representatives have already explained at
  3
       length how the proposed Settlement Class was adequately represented by their counsel
  4
       during the discussion of Rule 23(a)(4), which is incorporated by reference here.
  5
            2. The Parties negotiated the proposed Settlement at arm’s length.
  6
               The second Rule 23(e)(2) factor asks the Court to confirm that the proposed
  7
       settlement was negotiated at arm’s length. Fed. R. Civ. P. 23(e)(2)(B). As with the
  8
       preceding factor, this can be “described as [a] ‘procedural’ concern[], looking to the
  9
       conduct of the litigation and of the negotiations leading up to the proposed settlement.”
 10
       Fed. R. Civ. P. 23(e)(2)(A) & (B) advisory committee’s note (2009); Rodriguez v. W.
 11
       Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009) (“Rodriguez”) (“We put a good deal
 12
       of stock in the product of an arms-length, non-collusive, negotiated resolution.”).
 13
               The Settlement was reached only after extensive, aggressive litigation and
 14
       prolonged, well-informed, and extensive arm’s-length negotiations—including in-
 15
       person mediation sessions and additional negotiations—between experienced and
 16
       knowledgeable counsel facilitated by Judge Berg. See Inwald Decl. ¶ 18. The use of a
 17
       court appointed mediator supports the conclusion that the settlement process was not
 18
       collusive. See Fed. R. Civ. P. 23(e)(2)(B) advisory committee’s note (2018) (“[T]he
 19
       involvement of a neutral or court-affiliated mediator or facilitator in [the parties’]
 20
       negotiations may bear on whether they were conducted in a manner that would protect
 21
       and further the class interests.”). 10
 22
 23
       10
         Villegas v. J.P. Morgan Chase & Co., No. CV 09–00261, 2012 WL 5878390, at *6
 24    (N.D. Cal. Nov. 21, 2012) (noting that private mediation “tends to support the
 25    conclusion that the settlement process was not collusive”); see also In re Zynga Inc.
       Sec. Litig., No. 12-cv-04007, 2015 WL 6471171, at *9 (N.D. Cal. Oct. 27, 2015)
 26    (deciding that use of mediator and fact that some discovery had been completed
 27    “support the conclusion that the Plaintiff was appropriately informed in negotiating a
       settlement”) (internal citation omitted).
 28
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  1             Moreover, none of the Defendants have promised the Class Representatives
  2    preferential treatment in exchange for the Settlements. Inwald Decl. ¶ 22. Radcliffe v.
  3    Experian Info. Sols., Inc., 715 F.3d 1157, 1165 (9th Cir. 2013) (stating preferential
  4    treatment for class representatives can create a conflict of interest). Here, the
  5    Settlement funds will be distributed pro rata, and DPP Class Counsel will be
  6    reimbursed expenses and fees from the common fund, subject to the Court’s approval.
  7    Class Counsel will ask the Court to approve a nominal service award to the Class
  8    Representatives out of the Settlement funds to reimburse them for their efforts on
  9    behalf of the Settlement Class over the past several years, but neither Class Counsel
 10    nor any of the Defendants have made any promises about requesting such awards. 11
 11         3. The quality of relief to the Class weighs in favor of approval.
 12             The third factor to consider is whether “the relief provided for the class is
 13    adequate, taking into account: (i) the costs, risks, and delay of trial and appeal; (ii) the
 14    effectiveness of any proposed method of distributing relief to the class, including the
 15    method of processing class-member claims; (iii) the terms of any proposed award of
 16    attorney’s fees, including timing of payment; and (iv) any agreement required to be
 17    identified under Rule 23(e)(3).” Fed. R. Civ. P. 23(e)(2)(C). The relief “to class
 18    members is a central concern.” Fed. R. Civ. P. 23(e)(2)(C) advisory committee’s note
 19    (2018).
 20
 21
 22    11
          See In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 943 (9th Cir. 2015)
 23    (“[T]he class settlement agreement provided no guarantee that the class
       representatives would receive incentive payments[.]”). The settlement process here
 24    has been arm’s length in all respects. See In re Am. Capital S’holder Derivative Litig.,
 25    No. CIV. 11-2424, 2013 WL 3322294, at *4 (D. Md. June 28, 2013) (“The
       negotiations appear to have been appropriately adverse and at arm’s length: for
 26    example, one of the key deal points—plaintiffs’ attorneys’ fees—was litigated before
 27    a private arbitrator, a former federal district judge, who arrived at the fee proposed in
       the Settlement Agreement.”).
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  1                a. Costs, risks, and delay of trial and appeal.
  2          The DPPs maintain that the liability claims for violations under the antitrust
  3    laws are strong, given admissions of COSI, StarKist, and Bumble Bee (and additional
  4    judgments against Steve Hodge, Scott Cameron, Ken Worsham, and Chris
  5    Lischewski) for participation in a conspiracy to violate those laws. However, the
  6    claims against DWI and the Lion Companies were disputed. And all the Defendants
  7    vigorously disputed the scope, duration, and effect of the collusion. Moreover, DWI
  8    and the Lion Companies did not have collectible assets within the United States, and
  9    the Lion Companies are winding down their operations. For all these reasons, the
 10    substantial settlements that have been achieved here are an excellent result for the DPP
 11    Class. 12 See Inwald Decl. ¶ 12. Therefore, while the DPPs maintain they have “strong
 12    claims,” “significant risk and uncertainty remain such that continuing the case could
 13    lead to protracted and contentious litigation.” Howell v. Advantage RN, LLC, No. 17-
 14    CV-883, 2020 WL 3078522, at *4 (S.D. Cal. June 9, 2020).
 15            b. The effectiveness of any proposed method of distributing relief to the
 16                Class.
 17          The Settlements provide the Settlement Class Members with significant relief.
 18    The total value of the settlement agreements with COSI and TUG, StarKist and DWI,
 19    and the Lion Companies is $83,701,961.86. See Inwald Decl. ¶ 20. That total value
 20    provides the Settlement Class Members with approximately 92.6% of their
 21
       12
          Rodriguez, 563 F.3d at 966 (summarizing risks of litigating antitrust class actions);
 22    Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 118 (2d Cir. 2005) (‘“Indeed,
 23    the history of antitrust litigation is replete with cases in which antitrust plaintiffs
       succeeded at trial on liability, but recovered no damages, or only negligible damages,
 24    at trial, or on appeal.’” (quoting In re NASDAQ Market-Makers Antitrust Litig., 187
 25    F.R.D. 465, 475 (S.D.N.Y. 1998))); In re Auto. Refinishing Paint Antitrust Litig., 617
       F. Supp. 2d 336, 341 (E.D. Pa. 2007) (“Auto Refinishing”) (approving settlements in
 26    part because the “antitrust class action is arguably the most complex action to
 27    prosecute [and] [t]he legal and factual issues involved are always numerous and
       uncertain in outcome”) (internal quotation omitted).
 28
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  1    $90,349,227 in single damages. Id. ¶ 20. Moreover, if one compares the single
  2    damages from all the Settlement Class Members who already submitted claims for the
  3    COSI/TUG Settlement with the relief received from the StarKist and DWI Settlement
  4    Agreement, the claimants will receive an amount equal to 9.44% of their total
  5    packaged tuna purchases. Id. ¶ 20. That figure is close to the 10.39% overcharge that
  6    DPP expert, Dr. Mangum, calculated for the DPPs. Id. ¶ 20.
  7          This relief is comparable to other settlements. For example, the EPPs settled
  8    with StarKist and DWI for $130,000,000. Id. That settlement represents
  9    approximately 58% of their $224,000,000 in single damages. Id. Similarly, the DPP
 10    settlement agreement with StarKist and DWI provides for cash and product valued at
 11    $58.75 million dollars, which is approximately 65% of the DPPs’ $90,349,227 in
 12    single damages. Id.
 13          Additionally, the Settlement Class Members are mostly comprised of smaller
 14    companies, with other larger retailers having effectively opted out of the Class by
 15    filing their own suits or separately settling with the Defendants. As it pertains to the
 16    Settlement Agreement with StarKist, the Settlement Class Members represent around
 17    20% of the purchases of packaged tuna products during the relevant period and
 18    received $58.75 million dollars in cash and product. See Inwald Decl. ¶¶ 13, 20.
 19          By comparison, as noted above, one of the former DAPs in this case,
 20    Wal-Mart—the largest retailer in the country, which alone represents nearly 20% of
 21    the packaged tuna purchases in the relevant period—resolved its antitrust claims
 22    against StarKist for $20.5 million in cash and product. Id., Ex. E. Thus, the StarKist
 23    and DWI Settlement Agreement alone has achieved a result that is nearly three times
 24    than what an individual direct action purchaser achieved for itself. See Fed. R. Civ. P.
 25    23 advisory committee notes (2018) (“[T]he actual outcomes of other cases, may
 26    indicate whether counsel negotiating on behalf of the class had an adequate
 27    information base.”).
 28
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  1            c. The method for processing claims.
  2          Settlement Class Members who make a claim will be entitled to receive cash
  3    and product, with the actual amount received depending on the number of claims and
  4    the volume of commerce represented in those claims. Making a claim should be very
  5    straightforward. Class Members that previously submitted a claim for benefits from
  6    the COSI/TUG settlement will not need to file another claim to access the benefits of
  7    the current Settlements because their prior claim will be deemed submitted here as
  8    well, unless they have previously released claims against these Settling Defendants.
  9    Further, Class Counsel have the transactional data from the Defendants, which
 10    identifies all purchases in this case. Using an online portal, Class Members will be
 11    able to check their claim volume, and in the event that their own data suggests that a
 12    different claimed volume of commerce is appropriate, they can provide that
 13    information, and it will be considered by the Claims Administrator, subject to audit.
 14    This information will be included on the Settlement website and in the Settlement
 15    Class notice. See Inwald Decl. ¶¶ 23-25. As noted above, the proceeds from the
 16    Settlement Amount will be distributed on a pro rata basis, which courts routinely
 17    accept. 13 It is proposed that any unclaimed portion of the Settlement proceeds after
 18    any distributions be donated to an appropriate charity/non-profit. See Inwald Decl.
 19
       13
          See In re Cathode Ray Tube (CRT) Antitrust Litig., No. 14-CV-2058, 2017 WL
 20    2481782, at *5 (N.D. Cal. June 8, 2017) (approving settlement distribution plan that
 21    “‘fairly treats class members by awarding a pro rata share’ to the class members based
       on the extent of their injuries.” (quoting In re Heritage Bond Litig., No. 02-ML-1475,
 22    2005 WL 1594403, at *11 (C.D. Cal. June 10, 2005))); In re High-Tech Emp. Antitrust
 23    Litig., No. 11-CV-02509, 2015 WL 5159441, at *8 (N.D. Cal. Sept. 2, 2015)
       (approving pro rata distribution of fractional share based upon class member’s total
 24    base salary as fair and reasonable); Four in One Co. v. S.K. Foods, L.P., No. 2:08-CV-
 25    3017, 2014 WL 4078232, at *15 (E.D. Cal. Aug. 14, 2014) (approving “plan of
       allocation providing for a pro rata distribution of the net settlement fund based on
 26    verified claimants’ volume of qualifying purchases” as “fair, adequate, and
 27    reasonable”); In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1045-46 (N.D. Cal.
       2008) (approving securities class action settlement allocation on a “per-share basis”).
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  1    ¶ 25. The proposed notices to be furnished to Class Members will explain all of this
  2    information.
  3             d. Proposed award of attorneys’ fees, including timing of payment.
  4          The proposed fee and cost award is fair and reasonable, as described above.
  5    Judge Berg, who has spent a significant amount of time with the Parties over the course
  6    of the last year has endorsed all aspects of the proposed Settlement Agreements, and
  7    the proposed compensation of Class Counsel. See Inwald Decl., Ex. G.
  8             e. Any agreement required to be identified under Rule 23(e)(3).
  9          Courts also must evaluate any agreement made in connection with the proposed
 10    settlement. See Fed. R. Civ. P. 23(e)(2)(C)(iv), (e)(3). As noted above, StarKist has
 11    agreed to compensate Class Counsel for their substantial efforts in coordinating the
 12    various plaintiff tracks, and for assisting in the global resolution of this litigation. See
 13    Inwald Decl., Ex. C. Judge Berg was involved in this process and has endorsed the
 14    agreement. See id., Ex. G.
 15      4. The Settlement treats all Settlement Class Members equitably.
 16          The final Rule 23(e)(2) factor turns on whether the proposed settlement “treats
 17    class members equitably relative to each other.” Fed. R. Civ. P. 23(e)(2)(D). “Matters
 18    of concern could include whether the apportionment of relief among class members
 19    takes appropriate account of differences among their claims, and whether the scope of
 20    the release may affect class members in different ways that bear on the apportionment
 21    of relief.” Fed. R. Civ. P. 23(e)(2)(D) advisory committee’s note (2018).
 22          Here, the Settlements treat all Class Members equitably, and there are no
 23    differences between the scope of relief between any Class Members, with the
 24    following caveat: Certain Class Members opted out of the DPP Class as to StarKist
 25    and DWI, but not as to the Lion Companies, and thus they are not parties to StarKist
 26    and DWI’s Settlement Agreement. While Class Counsel has requested nominal
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  1    service awards for the Class Representatives to reimburse them for their efforts on
  2    behalf of the Class, such awards are well-established in the Ninth Circuit. 14
  3            For all of these reasons, the proposed Settlement merits preliminary approval
  4    as it is likely to be finally approved after the Fairness Hearing.
  5         C. The Proposed Notice Is the Best Practicable Under the Circumstances.
  6            Pursuant to Fed. R. Civ. P. 23(c)(2)(B), “[f]or any class certified under Rule
  7    23(b)(3) the court must direct to class members the best notice that is practicable under
  8    the circumstances, including individual notice to all members who can be identified
  9    through reasonable effort.” Here, the Court has certified the class under Rule 23(b)(3),
 10    see ECF No. 1931, but the Court has not yet authorized notice.
 11            Where there is a class settlement, Rule 23(e)(1) requires the court to “direct
 12    notice in a reasonable manner to all class members who would be bound by the
 13    proposal.” Fed. R. Civ. P. 23(e)(1)(B). “Notice is satisfactory if it ‘generally describes
 14    the terms of the settlement in sufficient detail to alert those with adverse viewpoints
 15    to investigate and to come forward and be heard.’” Rodriguez, 563 F.3d at 962
 16    (quoting Churchill Vill., LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)).
 17            In Rule 23(b)(3) actions, “the court must direct to class members the best notice
 18    that is practicable under the circumstances,” and that notice “must clearly and
 19    concisely state in plain, easily understood language:” (1) the nature of the action; (2)
 20    the definition of the class certified; (3) the class claims, issues, or defenses; (4) that a
 21
 22    14
         Harris v. Vector Mktg. Corp., No. 08-cv-5198, 2012 WL 381202, at *6 (N.D. Cal.
 23    Feb. 6, 2012) (“It is well-established in this circuit that named plaintiffs in a class
       action are eligible for reasonable incentive payments, also known as service awards.
 24    In fact, the Ninth Circuit recently noted that incentive payments to named plaintiffs
 25    have become ‘fairly typical’ in class actions.”); see also Boyd v. Bank of Am. Corp.,
       No. 13-cv-0561, 2014 WL 6473804, at *7 (C.D. Cal. Nov. 18, 2014) (citing Staton v.
 26    Boeing Co., 327 F.3d 938, 976-77 (9th Cir. 2003)); In re BofI Holding, Inc. Sec. Litig.,
 27    No. 3:15-CV-02324, 2022 WL 9497235, at *8 (S.D. Cal. Oct. 14, 2022) (granting a
       $15,000 service award).
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  1    class member may enter an appearance through an attorney if the member so desires
  2    (5) that the court will exclude from the class any member who requests exclusion; (6)
  3    the time and manner for requesting exclusion; and (7) the binding effect of a class
  4    judgment on members under Rule 23(c)(3). See Fed. R. Civ. P. 23(c)(2)(B).
  5          As described above, the notice plan proposed by the DPPs with the advice and
  6    assistance of JND—a notice and settlement administrator with significant
  7    experience—provides a thorough approach to notice by direct U.S. mail, with skip-
  8    tracing and other methods to find changed addresses, as well as email where available,
  9    all of which are designed so that notice will reach all Class Members. See Intrepido-
 10    Bowden Decl. ¶¶ 1, 9a, 13-20 ; see also, e.g., Ross v. Trex Co., No. 09-00670, 2013
 11    WL 791229, at *1 (N.D. Cal. Mar. 4, 2013) The notice plan proposed by JND satisfies
 12    Rule 23 requirements and the Due Process clause of the United States Constitution. It
 13    was also similarly used with the approval of this Court in connection with the earlier
 14    settlement between the DPP Class and COSI/TUG. See ECF No. 2733 at 19 (Order
 15    approving notice).
 16          Moreover, the contents of the notice satisfactorily inform DPP Class Members
 17    of their rights in the class action and under the Settlement. See Intrepido-Bowden
 18    Decl., Exs. A-C. The proposed notice form includes: (i) the case caption; (ii) a
 19    description of the Class and Settlement Class; (iii) a description of the Settlement
 20    Agreement, including the monetary consideration provided to the Settlement Class;
 21    (iv) the names of Class Counsel; (v) the Fairness Hearing date; (vi) information about
 22    the Fairness Hearing; (vii) information about the deadline for filing objections to the
 23    Settlement Agreement; (viii) how Class Counsel will be compensated and that
 24    additional information regarding Class Counsel’s fees and costs will be posted on the
 25    website prior to the deadline for objections; and (ix) how to obtain further information
 26    about the proposed Settlement Agreements, including through the website maintained
 27    by the Claims Administrator that will include links to the notice, motions for approval
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  1    and for attorneys’ fees, and other important documents. See id.; see also 4 Newberg
  2    on Class Actions § 11:53 (4th ed. 2002) (stating that notice is “adequate if it may be
  3    understood by the average class member”); Lamb v. Bitech, Inc., No. 3:11-cv-05583,
  4    2013 WL 4013166, at *4 (N.D. Cal. Aug. 5, 2013). Accordingly, the notice program,
  5    through direct mail, and email where available, as well as the accompanying forms,
  6    are reasonable and adequate and are fairly calculated to apprise Class Members of
  7    their rights. See also Fed. R. Civ. P. 23(c)(2) advisory committee’s note (2018) (stating
  8    that “electronic methods of notice, for example email, [will sometimes be] the most
  9    promising” method for delivery of notice). The notice is also consistent with the
 10    sample provided by the Federal Judicial Center.
 11          JND will also assist Class Counsel with the implementation of the claims
 12    administration and distribution process. See Intrepido-Bowden Decl. ¶¶ 31-32; Inwald
 13    Decl. ¶ 23 (describing estimated costs from JND).
 14      D. CAFA Notice.
 15          Class Counsel will make efforts to ensure that the relevant notices required by
 16    the Class Action Fairness Act, 28 U.S.C. § 1711, et seq. (“CAFA”) are disseminated.
 17      E. Service Awards.
 18          The DPPs will also request a service award of $12,500.00 per Class
 19    Representative, as noted above. These parties have faithfully represented the Class for
 20    nearly nine years, including producing documents, sitting for depositions, and
 21    monitoring the progress of the case. In addition, over the past few months, each of
 22    these parties has spent significant time with Class Counsel and assisted in the
 23    preparation for trial. Inwald Decl. ¶ 27. These proposed service awards are modest
 24    and do not fully reflect the contribution these parties have made over the last nine
 25    years. Nevertheless, it is a nominal acknowledgment of their service on behalf of the
 26    whole Class. Id. As noted, such awards are routine in the Ninth Circuit. See Birch v.
 27    Office Depot, No. 06 CV 1690, 2007 WL 9776717, at *2 (S.D. Cal. Sept. 28, 2007)
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  1    (Sabraw, J.) (awarding service awards of $15,000 and $10,000 because “Plaintiffs
  2    greatly assisted Class Counsel and committed a significant amount of effort in order
  3    to obtain the benefits on behalf of the class” and because the service awards were
  4    “well within amounts awarded by courts”); Santillan v. Verizon Connect, Inc., No.
  5    3:21-cv-1257, 2024 WL 627998, at *11 (S.D. Cal. Feb. 13, 2024) (granting a $10,000
  6    incentive award).
  7    V.    CONCLUSION
  8          For the foregoing reasons, the DPPs respectfully request that the Court enter the
  9    accompanying proposed order approving the Settlement Agreements, directing notice
 10    of the proposed Settlements, appointing Class Counsel and the Class Representatives
 11    for settlement purposes, and setting a hearing for the purpose of deciding whether to
 12    grant final approval of the Settlements. As set forth in the Proposed Order, the DPPs
 13    propose the following schedule for final approval and related deadlines:
 14
 15     Deadline for disseminating Class notice 14 days after entry of preliminary
                                                approval order
 16     Deadline for filing affidavit attesting 35 days after entry of preliminary
 17     that notice was disseminated as ordered approval order
        Plaintiffs to file a motion for an award 49 days before the Fairness Hearing
 18
        of attorneys’ fees, costs, and service
 19     awards
 20     Deadline for Class Members to object to 35 days before the Fairness Hearing
 21     the Settlements

 22
        Deadline for Class Members to file a 35 days before the Fairness Hearing
 23     claim
 24     Plaintiffs to file motion for final 28 days before the Fairness Hearing
 25     approval of Settlements
        Hearings on motion for final approval 90 days after preliminary approval
 26
        and motion for an award of attorneys’ order
 27     fees, costs, and service awards
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  1    Dated: August 13, 2024                Respectfully submitted,
  2                                          By: /s/ Erika A. Inwald
  3                                          Erika A. Inwald
                                             HAUSFELD LLP
  4                                          33 Whitehall Street, 14th Floor
                                             New York, NY 10004
  5                                          Tel: (646) 357-1100
                                             Fax: (212) 202-4322
  6                                          E-mail: einwald@hausfeld.com
  7                                          Michael P. Lehmann
                                             Christopher L. Lebsock
  8                                          HAUSFELD LLP
                                             600 Montgomery Street, Suite 3200
  9                                          San Francisco, CA 94111
                                             Tel: (415) 633-1908
 10                                          Fax: (415) 358-4980
                                             E-mail: mlehmann@hausfeld.com
 11                                          E-mail: clebsock@hausfeld.com
 12                                          Michael D. Hausfeld
                                             HAUSFELD LLP
 13                                          888 16th Street NW, Suite 300
                                             Washington, D.C. 20006
 14                                          Tel: (202) 540-7200
                                             Fax: (202) 540-7201
 15                                          E-mail: mhausfeld@hausfeld.com
 16                                          Class Counsel for the Direct Purchaser
                                             Plaintiffs
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  1                             CERTIFICATE OF SERVICE
  2          I certify that on August 13, 2024, I filed the foregoing document and supporting
  3    papers with the Clerk of the Court for the United States District Court, Southern
  4    District of California, by using the Court’s CM/ECF system. I also served counsel of
  5    record via this Court’s CM/ECF system.
  6
  7                                                        /s/ Erika A. Inwald
                                                           Erika A. Inwald
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